         Case 18-32106 Document 104 Filed in TXSB on 05/21/18 Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


In re:                                                  Case No. 18-32106

Erin Energy Corporation, et al.,1                       (Chapter 11)

         Debtors.                                       (Jointly Administered)



                                        NOTICE OF HEARING

         TAKE NOTICE THAT the hearing on the Emergency Motion of Nigerian Agip

Exploration Limited Pursuant to Section 105(a) of the Bankruptcy Code Seeking the Entry of an

Order (i) Determining that the Automatic Stay does not Apply to an Action Commenced by the

Debtors or (ii) Granting Alternative Relief [Docket No. 95] is set for Wednesday, May 23, 2018

at 9:00 a.m. before the Honorable Marvin Isgur, 515 Rusk, 4th Floor, Courtroom 404, Houston,

Texas 77002.




1
 The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Kenya Limited; Erin Energy Kenya Limited; and Erin Petroleum
Nigeria Limited. The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
Case 18-32106 Document 104 Filed in TXSB on 05/21/18 Page 2 of 3



Dated: May 21, 2018.


                             Respectfully submitted,

                             HUGHES WATTERS ASKANASE, L.L.P.


                             By: /s/ Randall A. Rios
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                                    EXPLOATION LIMITED


                                    -and-

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       Case 18-32106 Document 104 Filed in TXSB on 05/21/18 Page 3 of 3



                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the Notice of Hearing on Emergency
Motion of Nigerian Agip Exploration Limited Pursuant to Section 105(a) of the Bankruptcy Code
Seeking the Entry of an Order (i) Determining that the Automatic Stay Does Not Apply to an
Action Commenced by the Debtors or (ii) Granting Alternative Relief was served to all parties
listed as receiving electronic notice via the courts’ ECF noticing system on May 21, 2018.

                                                   /s/ Randall A. Rios
                                                   Randall A. Rios




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